       Case 4:17-cv-00432-MW-CAS Document 18 Filed 05/25/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSE DIVISION

AISHA LAMB                                    )
                                              )
                        Plaintiff,            )      Civil Action No. 4:17-cv-00432-MW-CAS
                                              )
        v.                                    )
                                              )
FIRST ADVANTAGE                               )
BACKGROUND SERVICES                           )
CORPORATION                                   )
              Defendant.                      )
                                              )

                        STIPULATION AND ORDER OF DISMISSAL
       IT IS HEREBY STIPULATED AND AGREED, on this 25th day of May, 2018, by and

between Plaintiff and Defendant First Advantage Background Services Corporation, that pursuant

to Fed. R. Civ. P. 41, this action be dismissed with prejudice, with each party to bear her or its own

attorney’s fees, costs and expenses incurred.


 /s/ Alexis I. Lehmann                            /s/ Jason A. Spak
 ALEXIS I. LEHMANN                                JASON A. SPAK
 FRANCIS & MAILMAN, P.C.                          FISHERBROYLES LLP
 Land Title Building, 19th Floor
 100 South Broad Street                           P.O. Box 5262
 Philadelphia, PA 19110                           Pittsburgh, PA 15206
 215-735-8600 (Telephone)                         Telephone: (412) 230-8555
 215-940-8000 (Fax)                               jason.spak@fisherbroyles.com
 alehmann@consumerlawfirm.com
                                                  Attorneys for Defendant
 Attorneys for Plaintiff                          First Advantage Background Services
                                                  Corporation



                                                      APPROVED BY THE COURT:


Dated: ______________                                 ___________________________________
                                                      MARK E. WALKER,            U.S.D.J.
